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 1                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
 2                                  AT SEATTLE
 3
     STEVEN PORTER, individually and on Case No.: C16-360 JLR
 4   behalf of all others similarly situated,
 5
 6          Plaintiff,
                                                NOTICE OF DISMISSAL WITHOUT
 7          v.                                  PREJUDICE PURSUANT TO FED. R.
 8                                              CIV. P. 41(a)(1)
     MARCHEX, INC., et al.,
 9
10                 Defendants.
11
12         Pursuant to Fed. R. Civ. P. 41(a)(1), Lead Plaintiff Steven Porter hereby
13
     dismisses this action, without prejudice, as to all defendants. No defendant has served
14
15 either an answer or a motion for summary judgment in this action.
16
     Dated: April 22, 2016                 LAW OFFICES OF CLIFFORD A. CANTOR,
17                                         P.C.
18
                                           /s/ Clifford A. Cantor
19                                         Clifford A. Cantor
20                                         WSBA # 17893
                                           627 208th Ave., SE
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23
                                           Email: cliff.cantor@outlook.com
24
25                                         Liaison Counsel for the Class

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                         NOTICE OF DISMISSAL WITHOUT PREJUDICE
     Case 2:16-cv-00360-JLR Document 46 Filed 04/22/16 Page 2 of 3




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13                                 Lead Counsel for Lead Plaintiff and the
                                   Putative Class
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               NOTICE OF DISMISSAL WITHOUT PREJUDICE
          Case 2:16-cv-00360-JLR Document 46 Filed 04/22/16 Page 3 of 3



                                  CERTIFICATE OF SERVICE
1
2          I hereby certify that on April 22, 2016, I electronically filed the foregoing Notice
3
     of Dismissal without Prejudice Pursuant to Fed. R. Civ. P. 41(a)(1) with the Clerk of
4
5 Court using the CM/ECF system, which will send notification of such to all CM/ECF
6 participants.
7
                                            LAW OFFICES OF CLIFFORD A. CANTOR,
8                                           P.C.
9
                                            /s/ Clifford A. Cantor
10                                          Clifford A. Cantor
11                                          WSBA # 17893
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                     NOTICE OF DISMISSAL WITHOUT PREJUDICE
